  Case 2:18-cv-00229-JRG Document 11 Filed 06/27/18 Page 1 of 1 PageID #: 94



</3;!"')%)'',#




                 <JKLLKOCB!/LLHGA?PGKJ!DKN!3TPCJOGKJ!KD!;GIC!PK!/JOSCN!1KILH?GJP
                     /PP?AF!PFGO!DKNI!PK!PFC!$33/.*)7.21!-25!&;7,16.21!2-!(.0,!72!$169,5!%203/).17!CRCJP&



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5O!PFGO!PFC!DGNOP!?LLHGA?PGKJ!DKN!CTPCJOGKJ!KD!PGIC!GJ!PFGO!A?OC.!                            =CO
                                                                                              6K
            5D!JK$!LHC?OC!GJBGA?PC!SFGAF!?LLHGA?PGKJ!PFGO!NCLNCOCJPO-!                        9CAKJB
                                                                                              ;FGNB
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2?PC!KD!9CNRGAC!KD!9QIIKJO- 6/6/2018
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            4QHH!6?IC- Damon M Lewis
            9P?PC!0?N!6K&- VA 73140
            4GNI!6?IC- DLA Piper LLP (US)
            /BBNCOO- 500 Eighth Street NW
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            3I?GH- damon.lewis@dlapiper.com
                  #!&(02+)+&$2(!.)!&.-)(0(-&(!'.(1!-.2!-(('!2.!%(!)+,('!4+2*!2*+1!3-.//.1('!$//,+&$2+.-"
